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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
MARK T. MOORE,           *
                         *                         No. 18-1317V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: September 23, 2020
                         *
SECRETARY OF HEALTH      *                         Stipulation; Tdap vaccine;
AND HUMAN SERVICES,      *                         Guillain-Barré syndrome
                         *                         (“GBS”).
                         *
             Respondent. *
******************** *

Summer P. Abel, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner;
Christine M. Becer, United States Dep’t of Justice, Washington, DC, for
Respondent.

                             UNPUBLISHED DECISION1

       On September 23, 2020, the parties filed a joint stipulation concerning the
petition for compensation filed by Mark T. Moore on August 28, 2018. Petitioner
alleged that the tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine he received
on August 9, 2017, which is contained in the Vaccine Injury Table (the “Table”),
42 C.F.R. §100.3(a), caused him to suffer Guillain-Barré syndrome. Petitioner
further alleges that he suffered the residual effects of this injury for more than six
months. Petitioner represents that there has been no prior award or settlement of a
civil action for damages on his behalf as a result of his condition.


       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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       Respondent denies that the vaccines either caused or significantly
aggravated petitioner’s alleged injury or any other injury, and denies that
petitioner's current disabilities are the result of a vaccine-related injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $107,000.00 in the form of a check payable to
       petitioner. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 18-1317V according to this decision
and the attached stipulation.2


       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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